Case 1'05-cv-OlO48-.]DT-STA Document 8 Filed 04/19/05 Page 1 of 4 (;Ze|D 3

UNITED sTATEs DISTRICT coURT 054,0,? 00
WESTERN DISTRICT oF TENNESSEE /9 40 ' -
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FELISHA FISHER, Individuauy, and ) Q¢/'; 05 fivch
as next friend of MARTHA ANN MAYS, ) /|/~¢/¢;:CY§FC/\
Deceased, ) ' “O/V '
)
Plaintiff, )
)
v. ) Case No. 1-05-1048-'1` An
)
UNUMPROVIDENT dba )
UNUM LIFE rNs URANCE coMPANY )
oF AMERICA and PLASTECH )
ENGINEERED PRODUCTS, INC., )
)
Defendants. )

STIPULATION REGARDING VARIOUS PROCEDURAL MATTERS

The parties, by and through counsel, hereby STIPULATE the following procedural
matters:

l. The complaint is AMENDED to add Martha Mays' other surviving children,
Darin Fisher, Syreeta L. Mays, and Nicholas T. Mays, as additional plaintiffs in this action;

2. Defendants having represented that the group life insurance coverage under Which
plaintiffs seek benefits in this action Was issued by defendant UNUM Life Insurance Company
of America (UNUM), and, therefore UnumProvident Corporation and Plastech Engineered
Products, lnc. are not necessary defendants, this action is hereby DISMISSED, without
prejudice, as to UnumProvident Corporation and Plastech Engineered Products, Inc.

ENTER:

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Unite€)%'tates District Judge
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This document entered on the docket sheet In compliance ,

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Case 1'05-cv-OlO48-.]DT-STA Document 8 Fl|ed 04/19/05 Page 3 of 4 Pag

CERTIFICATE OF SERVICE
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on to carry the same to its destination
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Law Ofi'ices of George L. Morrison, III

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AttorneyV

 

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This notice confirms a copy of the document docketed as number 8 in
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Honorable J ames Todd
US DISTRICT COURT

